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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                           *    CIVIL ACTION

VERSUS                                          *    NO. 2:20-cv-2679

THE ADMINISTRATORS OF THE                       *    JUDGE GREG GERARD GUIDRY
TULANE EDUCATIONAL FUND
                                                *    MAGISTRATE JUDGE KAREN WELLS
                                                     ROBY


     ORDER FOR EXPARTE MOTION FOR LEAVE TO EXCEED PAGE LIMITS

      Considering the foregoing Ex Parte Motion for Leave to Exceed Page Limits:


      IT IS HEREBY ORDERED ADJUDGED that the Motion is GRANTED and the

Opposition to the Motion to Dismiss and Motion to Strike is hereby filed into the record.


Rendered this ____ day of July, 2021 in New Orleans, Louisiana.



                                            ___________________________________
                                            HONORABLE GREG GUIDRY
                                            UNITED STATE DISTRICT COURT JUDGE
                                            EASTERN DISTRICT OF LOUISIANA




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